      Case: 3:18-cv-00290-wmc Document #: 20 Filed: 09/29/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN

JACK A. LEDBETTER, JR.,

                    Plaintiff,
      v.
                                                          Case No. 18-cv-290-wmc
KILOLO KIJAKAZI,
Acting Commissioner of Social Security,

                    Defendant.


                           JUDGMENT IN A CIVIL CASE


      IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

plaintiff Jack A. Ledbetter, Jr. against defendant Kilolo Kijakazi, Acting

Commissioner of Social Security reversing the decision of the Commissioner and

remanding this case for further proceedings under sentence four of Section 205 of the

Social Security Act, 42 U.S.C. § 405(g).




      s/ K. Frederickson, Deputy Clerk                               9/29/2021
       Peter Oppeneer, Clerk of Court                                   Date
